            Case 2:15-cv-07425-RGK-PLA Document 334 Filed 08/27/18 Page 1 of 3 Page ID #:9192



                      1 ALLEN MATKINS LECK GAMBLE
                          MALLORY & NATSIS LLP
                      2 DAVID R. ZARO (BAR NO. 124334)
                        TIM C. HSU (BAR NO. 279208)
                      3 865 South Figueroa Street, Suite 2800
                        Los Angeles, California 90017-2543
                      4 Phone: (213) 622-5555
                        Fax: (213) 620-8816
                      5 E-Mail: dzaro@allenmatkins.com
                                thsu@allenmatkins.com
                      6
                        ALLEN MATKINS LECK GAMBLE
                      7 MALLORY & NATSIS LLP
                        EDWARD G. FATES (BAR NO. 227809)
                      8 One America Plaza
                        600 West Broadway, 27th Floor
                      9 San Diego, California 92101-0903
                        Phone: (619) 233-1155
                     10 Fax: (619) 233-1158
                        E-Mail: tfates@allenmatkins.com
                     11
                        Attorneys for Receiver
                     12 Thomas A. Seaman
                     13                           UNITED STATES DISTRICT COURT
                     14                         CENTRAL DISTRICT OF CALIFORNIA
                     15                                  WESTERN DIVISION
                     16 SECURITIES AND EXCHANGE                  Case No. 2:15-cv-07425 RGK PLA
                        COMMISSION,
                     17                                          NOTICE OF HEARING ON
                                   Plaintiff,                    INTERIM FEE APPLICATIONS OF
                     18                                          THE RECEIVER AND HIS
                             v.                                  PROFESSIONALS FOR PAYMENT
                     19                                          OF FEES AND REIMBURSEMENT
                        STEVE CHEN, USFIA, INC.,                 OF EXPENSES
                     20 ALLIANCE FINANCIAL
                        GROUP, INC., AMAUCTION, INC.,            Date:    September 24, 2018
                     21 ABORELL MGMT I, LLC, ABORELL             Time:    9:00 a.m.
                                                                 Ctrm.:   850
                     22 ADVISORS I, LLC, ABORELL                 Judge:   Hon. R. Gary Klausner
                        REIT II, LLC, AHOME REAL
                     23 ESTATE, LLC, ALLIANCE
                        NGN, INC., APOLLO REIT I, INC.,
                     24 APOLLO REIT II, LLC, AMKEY, INC.,
                     25 US CHINA CONSULTATION
                        ASSOCIATION, and QUAIL RANCH
                     26 GOLF COURSE, LLC,
                     27                    Defendants.
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874948.01/SD
            Case 2:15-cv-07425-RGK-PLA Document 334 Filed 08/27/18 Page 2 of 3 Page ID #:9193



                      1               TO ALL INTERESTED PARTIES:
                      2               PLEASE TAKE NOTICE that on September 24, 2018, at 9:00 a.m. in
                      3 Courtroom 850 of the above-entitled Court, located at 255 East Temple Street,
                      4 Los Angeles, California 90012-3332, the Court will consider the interim applications
                      5 of Thomas A. Seaman ("Receiver"), the Court-appointed permanent receiver for
                      6 Defendants USFIA, Inc., Alliance Financial Group, Inc., Amauction, Inc., Aborell
                      7 Mgmt I, LLC, Aborell Advisors I, LLC, Aborell REIT II, LLC, Ahome Real
                      8 Estate, LLC, Alliance NGN, Inc., Apollo REIT I, Inc., Apollo REIT II, LLC,
                      9 Amkey, Inc., US China Consultation Association, Quail Ranch Golf Course, LLC,
                     10 and their subsidiaries and affiliates (collectively, "Receivership Entities") and his
                     11 general counsel, Allen Matkins Leck Gamble Mallory & Natsis LLP ("Allen
                     12 Matkins"), for approval and payment of fees and expenses ("Applications").
                     13               The following table summarizes the fees incurred, interim payment requested,
                     14 and costs requested by the Receiver and Allen Matkins for the period April 1, 2018,
                     15 through June 30, 2018:
                     16                    Applicant       Fees          Interim         Costs         Total
                     17                                  Incurred       Payment                      Payment
                                                                        Requested                    Requested
                     18
                                 Thomas A. Seaman, $147,190.00         $132,471.00         $0.00    $132,471.00
                     19          Receiver                                   (90%)        (100%)
                     20          Allen Matkins Leck     $75,174.75      $60,139.80       $713.69     $60,853.49
                                 Gamble Mallory &                           (80%)        (100%)
                     21
                                 Natsis LLP,
                     22          General Counsel
                     23
                     24               Procedural Requirements: If you oppose the Applications, you are required
                     25 to file your written opposition with the Office of the Clerk, United States District
                     26 Court, 255 East Temple Street, Los Angeles, California 90012-3332 and serve the
                     27 same on the undersigned not later than 21 calendar days prior to the hearing.
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874948.01/SD
            Case 2:15-cv-07425-RGK-PLA Document 334 Filed 08/27/18 Page 3 of 3 Page ID #:9194



                      1               IF YOU FAIL TO FILE AND SERVE A WRITTEN OPPOSITION by the
                      2 above date, the Court may grant the requested relief without further notice.
                      3
                      4 Dated: August 27, 2018                    ALLEN MATKINS LECK GAMBLE
                                                                   MALLORY & NATSIS LLP
                      5
                                                                  By:        /s/ Edward Fates
                      6                                                 EDWARD G. FATES
                                                                        Attorneys for Receiver
                      7                                                 Thomas A. Seaman
                      8
                      9
                     10
                     11
                     12
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP

                            874948.01/SD                          -2-
